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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

     IN RE: NATIONAL PRESCRIPTION
            OPIATE LITIGATION
                                                                   MDL No. 2804
   The County of Summit, Ohio, et al. v. Purdue
    Pharma L.P., et al., Case No. 18-op-45090
                                                                Case No. 17-md-2804
                        and
   The County of Cuyahoga v. Purdue Pharma                    Hon. Dan Aaron Polster
       L.P., et al.,Case No. 1:18-op-45004


  DEFENDANTS’ NOTICE OF FILING REDACTED DEPOSITION TRANSCRIPTS
  CITED IN MOTIONS FOR SUMMARY JUDGMENT AND DAUBERT MOTIONS
 PURSUANT TO ORDER AMENDING PROCEDURES REGARDING REDACTIONS
          AND FILING OF BRIEFS UNDER SEAL [DOCKET NO. 1813]

       Pursuant to the Order Amending Procedures Regarding Redactions and Filing of Briefs

Under Seal, dated July 5, 2019 [Dckt 1813], Defendants provide this notice of filing the attached

deposition transcripts with proposed redactions, which are exhibits to the parties’ motions for

summary judgment and Daubert motions.

Dated: July 24, 2019                         Respectfully submitted,

                                             /s/ Mark S. Cheffo
                                             Mark S. Cheffo
                                             DECHERT LLP
                                             Three Bryant Park
                                             1095 Avenue of the Americas
                                             New York, NY 10036
                                             Tel: (212) 698-3500
                                             Mark.Cheffo@dechert.com
                                             Counsel for Defendants Purdue Pharma L.P.,
                                             Purdue Pharma Inc., and The Purdue Frederick
                                             Company
                                             Co-Liaison Counsel for the Manufacturer
                                             Defendants
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                                  /s/ Carole S. Rendon
                                  Carole S. Rendon
                                  BAKER & HOSTETLER LLP
                                  Key Tower 127 Public Square, Suite 2000
                                  Cleveland, OH 44114-1214
                                  Telephone: (216) 621- 0200
                                  Fax: (216) 696-0740
                                  crendon@bakerlaw.com
                                  Counsel for Defendants Endo Health Solutions Inc.
                                  and Endo Pharmaceuticals Inc.; Par
                                  Pharmaceutical, Inc., and Par Pharmaceutical
                                  Companies, Inc.
                                  Co-Liaison Counsel for the Manufacturer
                                  Defendants

                                  /s/ Enu Mainigi
                                  WILLIAMS & CONNOLLY LLP
                                  Enu Mainigi
                                  725 Twelfth Street, N.W.
                                  Washington, DC 20005
                                  Telephone: (202) 434-5000
                                  Fax: (202) 434-5029
                                  emainigi@wc.com
                                  Counsel for Defendant Cardinal Health, Inc.
                                  Co-Liaison Counsel for the Distributor Defendants

                                  /s/ Shannon E. McClure
                                  Shannon E. McClure
                                  REED SMITH LLP
                                  Three Logan Square
                                  1717 Arch Street, Suite 3100
                                  Philadelphia, PA 19103
                                  Telephone: (215) 851-8100
                                  Fax: (215) 851-1420
                                  smcclure@reedsmith.com
                                  Counsel for Defendant AmerisourceBergen Drug
                                  Corporation
                                  Co-Liaison Counsel for the Distributor Defendants

                                  /s/ Geoffrey Hobart
                                  Geoffrey Hobart
                                  COVINGTON & BURLING LLP
                                  One CityCenter, 850 Tenth Street, NW
                                  Washington, DC 20001-4956
                                  Telephone: (202) 662-5281
                                  ghobart@cov.com
                                  Counsel for Defendant McKesson Corporation
                                  Co-Liaison Counsel for the Distributor Defendants
                                     2
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                                  /s/ Kaspar Stoffelmayr
                                  Kaspar Stoffelmayr
                                  BARTLIT BECK LLP
                                  54 West Hubbard Street
                                  Chicago, IL 60654
                                  Telephone: (312) 494-4400
                                  Fax: (312) 494-4440
                                  kaspar.stoffelmayr@bartlitbeck.com
                                  Counsel for the Walgreens Defendants
                                  Liaison Counsel for the Chain Pharmacy
                                  Defendants




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                             CERTIFICATE OF SERVICE

 I, the undersigned, hereby certify that the foregoing document was served via the

          Court’s ECF system to all counsel of record on July 24, 2019.


                                                        /s/ Geoffrey Hobart
                                                        Geoffrey E. Hobart
                                                        Mark Lynch
                                                        COVINGTON & BURLING LLP
                                                        One CityCenter
                                                        850 Tenth Street NW
                                                        Washington, DC 20001
                                                        Tel: (202) 662-5281
                                                        ghobart@cov.com
                                                        mlynch@cov.com

                                                        Counsel for McKesson Corporation

                                                        Co-Liaison Counsel for the
                                                        Distributor Defendants
